       Case 1:22-cv-01992-CKK          Document 1      Filed 07/11/22     Page 1 of 11




 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


SEKOU AYODELE MAPP
600 Concerto Lane,
Silver Spring, Maryland 20901

       Plaintiff,                                         Civil Case No.: 22-1992

       v.

MEDICI ROAD, INC.
1629 K Street, N.W., Suite 300
Washington, D.C. 20006

Serve: OSI Management, Inc.
       1629 K Street, N.W. Suite 300
       Washington, D.C. 20006

THOMAS HOUSTON III
1629 K Street, N.W. Suite 300
Washington, D.C. 20006

       Defendant.

                                        COMPLAINT

       Plaintiff, Sekou Ayodele Mapp, hereby brings suit against his former employer Medici

Road, Inc. (“MR”) and Thomas Houston, III (“Houston”) for violations of the Fair Labor Standards

Act, 29 U.S.C. §§ 201, et seq. (“the FLSA”), the District of Columbia Minimum Wage Revision

Act, D.C. Code § 32-1001 et. seq. (“DCMWRA”), the District of Columbia Payment and

Collection of Wages Law, DC Code §§ 32-1301 et. seq. (“DCPCWL”) and the Accrued Sick and

Safe Leave Act of 2008 (“DCASSLA”), D.C. Code § 32-531.01, et seq. Plaintiff alleges as follows:

                                          PARTIES

        1.     Plaintiff is an adult resident of the State of Maryland and was employed by

Defendants as Director of Real Estate Development. He was employed in this capacity from

November 10, 2021 to May 3, 2022, when his employment with Defendants ended. During his
        Case 1:22-cv-01992-CKK            Document 1        Filed 07/11/22      Page 2 of 11




tenure with Defendant, Plaintiff worked from his home in Silver Spring Maryland or from sites in

the District of Columbia. However, during the entire term of Plaintiff’s employment, Defendants

were based in the District of Columbia where Defendants’ offices were located.

        2.      Houston is Executive Director of MR. He resides in the District of Columbia and

works in the District of Columbia. He is an employer of Plaintiff within the meaning of the

DCPCWL because: (1) he has operational control over MR and is significantly involved in the

operations; (2) he directly controlled the terms and conditions of Plaintiff’s employment, including

his work schedule, his compensation and pay, and he did in fact set the terms and conditions of

Plaintiff’s employment; (3) he had the authority to hire and fire Plaintiff and did in fact hire him;

(4) he had actual and functional control over MR’s corporate funds, which were used to pay

Plaintiff, and he had the authority to allocate funds; (5) he had authority to set Plaintiff’s rates and

manner of pay and he did set the Plaintiff’s rate and manner of pay and he authorized payment of

Plaintiff’s wages; (6) he had knowledge of and approved of the unlawful deductions from

Plaintiff’s wages; (7) he established pay practices and formulated and approved pay policies that

caused the violations at issue; and (8) he maintained the Plaintiff’s employment records.

        3.      MR is organized under the laws of the District of Columbia and is a non-profit

corporation. It is licensed to do business in the District of Columbia. MR is also a community

development corporation. At all times relevant to the Complaint, MR employed the Plaintiff within

the meaning of the DCPCWL because it treated him as an employee, it set is rate and manner of

pay, it paid his wages, it supervised him, hired him, it had the authority to terminate his

employment and it maintained his employment records.




                                                   2
         Case 1:22-cv-01992-CKK          Document 1        Filed 07/11/22      Page 3 of 11




                                         JURISDICTION

         4.    Plaintiff is asserting causes of action under the FLSA, the DCMWRA, the

DCPCWL and the DCASSLA.

         5.    The jurisdiction of this Court is based upon 28 U.S.C. § 1331 and 29 U.S.C. § 217.

The Court has subject matter jurisdiction under § 1331, because Plaintiff’s claims involve federal

questions and the Court has pendant jurisdiction over the Plaintiff’s District of Columbia law

claims under 28 U.S.C. § 1367.

                                    STATEMENT OF FACTS

         6.    As a Community Development Corporation, MR acquires, owns and develops

property to serve its community of low-income persons.

         7.    Plaintiff was hired by Defendants to be the Director of Development. Aside from

Houston, Plaintiff was the only employee of MR and Plaintiff did not supervise anyone. Plaintiff’s

actual job duties including the following: oversight of one real estate project located at Deanwood

Station to make certain that the project proceeds in a timely manner; identification of other

potential real estate to purchase for other projects; and submitting proposals for acquisition of real

property for future development projects. Plaintiff did not perform, as a primary duty, job functions

that would render him exempt from the overtime provisions of the FLSA, the DCPCWL or the

DCMWRA.

         8.    During his employment with Defendants, Plaintiff regularly worked an average of

approximately 43 hours per week. However, in some weeks Plaintiff worked well beyond 43 hours

in a single work week. However, Plaintiff was not paid an overtime premium for his overtime

hours.




                                                  3
       Case 1:22-cv-01992-CKK            Document 1        Filed 07/11/22      Page 4 of 11




       9.      Plaintiff and Defendant entered into an employment contract, prior to Plaintiff

performing services, which entitled to Plaintiff to certain benefits. Part of the agreement was that

Plaintiff be paid a salary of $90,000 annually, which did not vary based on the number of hours or

days that he worked. Plaintiff was paid bi-monthly, meaning that there were two pay periods per

month and 24 pay periods in a year.

       10.     Plaintiff’s annual salary was intended to compensate him the first 40 hours of work

in a workweek, not for any overtime hours. So, Plaintiff’s regular hourly rate for the purposes of

the DCMWRA, the DCPCWL and the FLSA was $43.27 per hour. See 29 C.F.R. § 778.113. Thus,

Plaintiff was deemed not to have been paid anything at all for his overtime hour and he was entitled

to $64.91 for each unpaid overtime hour that he worked.

       11.     Under the terms of the employment agreement, Plaintiff accrued PTO benefits at a

rate of 3.33 hours per pay period. In addition to 80 hours (five days) of PTO earned during the

year, Plaintiff as also entitled to an additional one day (eight hours) of PTO for his birthday, which

was on April 7. In fact, Plaintiff’s offer letter states that he is entitled to eleven days of PTO per

year: “11 vacation days”. Plaintiff’s accrued annual leave was debited when Plaintiff took PTO.

        12.    Because accrued PTO was a term of Plaintiff’s contract, when Plaintiff’s

employment ended, he was contractually entitled to a pay out of accrued but unused PTO, absent

an express written agreement to the contrary. National Rifle Association v. Ailes, 428 A.2d 816,

820 (D.C. 1981); Jones v. District Parking Management Co., 268 A.2d 860, 861-62 (D.C. 1970).

And there was no agreement to the contrary. Under the terms of the contract, Plaintiff was entitled

to a complete and accurate computation of PTO and he was entitled to a pay-out for accrued but

unused PTO upon the termination of his employment.




                                                  4
       Case 1:22-cv-01992-CKK            Document 1        Filed 07/11/22      Page 5 of 11




       13.     Plaintiff accrued sick leave at the rate of 3.33 hours per pay period. In addition,

under the DCAASLA, Plaintiff was entitled to use his sick leave, inter alia, for “an absence for

the purpose of caring for a child, a parent, a spouse, . . . or any other family member who has any

of the conditions or needs for diagnosis or care described in paragraph (1) or (2) of this subsection.

. . .” D.C. Code § 32-531.02 (b).

       14.     Plaintiff’s last two days of employment were May 2 and 3, 2022 and in fact on May

2, 2022, Houston gave Plaintiff an assignment (via text message) to be completed on May 3, 2022,

which Plaintiff in fact performed work on.

       15.     As of the end of the day on May 3, 2022, Plaintiff had a balance of 45.35 hours of

PTO, which included 37.35 hours plus eight hours for his birthday on April 7, 2022 (during which

he worked). In addition, Plaintiff was owed his salary for his last two days of work – May 2 and

3, 2022. Plaintiff’s last pay stub was for the pay period beginning May 1, 2022 and ending May

15, 2022. It indicated that Plaintiff received no salary for his two last days of work (Monday, May

2 or Tuesday, May 3). The pay stub further indicated that Plaintiff had used 2.02 hours of PTO on

either May 2 or May 3 and that Plaintiff was being paid for 3.33 hours of PTO which he had

accrued during the final pay period (May 1 through May 15). Since Plaintiff was paid for 5.35

hours of accrued but unused PTO, he had 40 hours remaining of accrued but unused PTO which

had a value of $1,730.80. In addition, Plaintiff was owed salary for his last two days of work –

May 2 and May 3, 2022. The unpaid salary has a value of $692.32. Based on his unpaid PTO and

salary, the total owed to the Plaintiff under the DCPCWL (Count III) is $2,423.12.

       16.     Under the DCPCWL, this sum ($2,423.12) was due within seven days of the

Plaintiff’s last day of work or May 10, 2022. D.C. Code § 32-1303 (2). Thirty business days have

passed since the payment was due and therefore, Plaintiff is owed the back wages and an additional



                                                  5
       Case 1:22-cv-01992-CKK            Document 1        Filed 07/11/22      Page 6 of 11




amount equal to three times that sum, plus attorney’s fees and costs. Id. § 32-1303 (2); § 32-1308

(b). Excluding attorney’s fees and costs, the total amount owed by Defendants under the DCPCWL

is $9,692.48.

       17.      Plaintiff is unable to compute the value of his unpaid overtime pay pursuant to the

FLSA (Count I) and the DCMWRA (Count II) at this time because Plaintiff does not possess time

records or other documents which will enable him to do a precise calculation.

                                             COUNT I
                                     VIOLATIONS OF THE FLSA
                                        (OVERTIME WAGES)

       18.      Plaintiff re-alleges and incorporates herein the allegations contained in the

paragraphs above.

       19.      Plaintiff was engaged in commerce because several times per month, he travelled

across state lines to perform his job functions.

       20.      The Defendants violated the FLSA by knowingly failing to pay Plaintiff an

overtime premium for his overtime hours – i.e. one and one-half times his regular hourly rate for

each hour over 40 that he worked during each workweek.

       21.      The actions of the Defendants were willful as defined by the FLSA and were not

undertaken in good faith and therefore, they are liable to Plaintiff for liquidated damages.

       22.      The Defendants are liable to Plaintiff under 29 U.S.C. § 216(b) of the FLSA, for

his unpaid overtime premium compensation, unpaid minimum wages, plus an additional equal

amount as liquidated damages, court costs, reasonable attorneys’ fees and expenses.

       23.      The precise amount owed to the Plaintiff by the Defendants cannot be calculated

because Plaintiff and his counsel do not possess all of Plaintiff’s payroll records and/or Plaintiff’s

time records (to the extent said records exist and are accurate) and or emails and text messages



                                                   6
       Case 1:22-cv-01992-CKK           Document 1       Filed 07/11/22     Page 7 of 11




which will assist Plaintiff in computing his overtime hours. Those records are in possession of the

Defendants.

                                      COUNT II
                     VIOLATIONS OF THE DCMWRA AND THE DCPCWL
                                 (OVERTIME WAGES)

       24.     Plaintiff re-alleges and incorporates herein the allegations contained in the

paragraphs above.

       25.     At all times relevant to the Complaint, Plaintiff was an “employee” of the

Defendants within the meaning of the DCMWRA (D.C. Code § 32-1002 (2)).

       26.     At all times relevant to the Complaint, the Defendants were each Plaintiff’s

“employer” within the meaning of the DCMWRA (D.C. Code § 32-1002 (3)).

       27.     At all relevant times, Defendants were both “employers” of Plaintiff within the

meaning of DCPCWL (D.C. Code § 32-1301 (1B)).

       28.     At all relevant times, Plaintiff was an “employee” of Defendants within the

meaning of the DCPCWL (D.C. Code § 32-1301 (2)).

       29.     The Defendants violated the DCMWRA by failing to pay Plaintiff an overtime

premium for the overtime hours he worked during his employment with Defendants. See D.C.

Code § 32-1003 (c). Thus, under the DCMWRA, Plaintiff is entitled to unpaid overtime wages

plus liquidated damages equal to three times the amount of the unpaid wages. See D.C. Code § 32-

1012 (b).

       30.     The Defendants’ failure to pay Plaintiff an overtime premium also violated the

DCPCWL. The DCPCWL defines “wages” to include, inter alia, “[a]n overtime premium.” D.C.

Code § 32-1301 (3)(D). Thus, under the DCPCWL, Plaintiff is entitled to the unpaid overtime

wages plus liquidated damages equal to three times the amount of the unpaid overtime wages. D.C.



                                                7
         Case 1:22-cv-01992-CKK          Document 1        Filed 07/11/22      Page 8 of 11




Code § 32-1301 (A)(i) and (A)(ii).

         31.   As a result of the violations of the DCMWRA and the DCPCWL by the Defendants,

they are liable for Plaintiff’s unpaid wages from during his employment, liquidated damages equal

to three times the unpaid overtime wages and reasonable attorneys’ fees and costs incurred in this

action, including attorneys’ fees at the Adjusted Laffey Matrix rate, the Legal Services Index Rate

and/or the rates set forth in Salazar ex rel. v. District of Columbia, 809 F.3d 58 (D.C. Cir. 2015),

as required by D.C. Code § 32-1308 (b)(1).

         32.   The precise amount owed to the Plaintiff by the Defendants cannot be calculated

because Plaintiff and his counsel do not possess all of Plaintiff’s payroll records and/or Plaintiff’s

time records (to the extent said records exist and are accurate) and or emails and text messages

which will assist Plaintiff in computing his overtime hours. Those records are in possession of the

Defendants.

                                   COUNT III
                  VIOLATIONS OF THE DCPCWL, D.C. CODE § 32-1308
                      (UNPAID SALARY, SICK LEAVE AND PTO)

         33.   Plaintiff re-alleges and incorporates the allegations contained in the paragraphs

above.

         34.   At all relevant times, Defendants were both “employers” of Plaintiff within the

meaning of the DCPCWL.

         35.   At all relevant times, Plaintiff was an “employee” of Defendants within the

meaning of the DCPCWL.

         36.   At all relevant times, Plaintiff’s unpaid salary, PTO benefits and sick leave benefits,

including the right to be paid for accrued but unused leave at the end of Plaintiff’s employment,

were wages within the meaning of D.C. Code § 32-1301 (3).


                                                  8
        Case 1:22-cv-01992-CKK            Document 1        Filed 07/11/22     Page 9 of 11




       37.     At all relevant times during his employment, Defendants committed the following

violations of the DCPCWL: (1) it failed to pay Plaintiff’s salary for May 2 and 3, 2022; (2) it failed

to pay Plaintiff the value of his accrued but unused PTO after his employment ended; and (3) it

failed to provide Plaintiff for all of his sick leave benefits and instead, improperly debited accrued

but unused PTO, when Plaintiff’s accrued but unused sick leave balance should have been debited.

       38.     For this Count, Plaintiff is entitled to damages in the approximate amount of

$2,423.12 plus an amount equal to three times the unpaid wages ($7,269.36), a total of $9,692.48.

In addition, Plaintiff is entitled to reasonable attorney’s fees and costs.

                                   COUNT IV
               VIOLATIONS OF THE ACCRUED SICK AND SAFE LEAVE
                    ACT, D.C. CODE § 32-531.01, et seq. AND THE
                          DCPCWL, D.C. CODE § 32-1308
                      (DAMAGES FOR SICK LEAVE DENIAL)

       39.     Plaintiff re-alleges and incorporates herein the allegations contained in the

paragraphs above.

       40.     At all times relevant to the Complaint, Plaintiff was an “employee” of the

Defendants within the meaning of the DCASSLA (D.C. Code § 32-531.01 (3)(A)).

       41.     At all times relevant to the Complaint, Defendants were each “employers” of

Plaintiff within the meaning of the DCASSLA (D.C. Code § 32-531.01 (3)(A)).

       42.     The Defendants violated the DCASSLA by failing to properly debit Plaintiff’s

accrued but unused sick leave balance for absences that were covered by the DCASSLA and

instead debited Plaintiff’s accrued but unused PTO for those absences, depriving him of the

benefits of is accrued sick leave under the DCASSLA.




                                                   9
       Case 1:22-cv-01992-CKK           Document 1        Filed 07/11/22      Page 10 of 11




       43.     As a result of the violations of the DCASSLA by the Defendants and pursuant to

the DCPCWL (D.C. Code § 32-1308 (a)(1)(A)), they are liable for Plaintiff’s unpaid sick leave

benefits, liquidated damages equal to three times the unpaid sick leave and pursuant to D.C. Code

§ 32-531.12 (b) and $500 for each day that Plaintiff did not receive the required sick leave benefits.

Plaintiff is also entitled to reasonable attorneys’ fees and costs incurred in this action, including

attorneys’ fees at the Adjusted Laffey Matrix rate, the Legal Services Index Rate and/or the rates

set forth in Salazar ex rel. v. District of Columbia, 809 F.3d 58 (D.C. Cir. 2015), as required by

D.C. Code § 32-1308 (b)(1).

       44.     The precise amount owed to the Plaintiff by the Defendants cannot be calculated

because Plaintiff and his counsel do not possess all of Plaintiff’s leave records and/or Plaintiff’s

time records (to the extent said records exist and are accurate) which are in possession of the

Defendants.




                                                 10
      Case 1:22-cv-01992-CKK          Document 1       Filed 07/11/22      Page 11 of 11




                                   RELIEF REQUESTED

       This Court should enter judgment for Plaintiff and against Defendant in the amounts

specified below:

       a. the value of Plaintiff’s unpaid overtime pay under the FLSA plus an equivalent amount

          as liquidated damages;

       b. the value of Plaintiff’s unpaid overtime pay plus an amount equal to three times the

          unpaid overtime as liquidated damages, pursuant to the DCMWRA and the DCPCWL;

       c. pursuant to the DCPCWL and the DCASSLA, the value of the Plaintiff’s unpaid salary

          for two days of work, his accrued but unused PTO at the time his employment with

          MR ended, and his unpaid sick leave benefits along with an additional amount of

          liquidated damages equal to three times the value of the unpaid wages;

       d. damages of $500 per day sick leave was denied pursuant to the DCASSLA; and

       e. reasonable attorneys’ fees and costs incurred in this action, including fees at the

          Adjusted Laffey Matrix rate, the Legal Services Index Rate and/or the rates set forth in

          Salazar ex rel. v. District of Columbia, 809 F.3d 58 (D.C. Cir. 2015).

                                            Respectfully submitted,

                                            /s/Omar Vincent Melehy
                                            Omar Vincent Melehy
                                            DC Bar No.: 415849
                                            MELEHY & ASSOCIATES LLC
                                            8403 Colesville Road Suite 610
                                            Silver Spring, Maryland 20910
                                            ovmelehy@melehylaw.com
                                            Phone: (301) 587-6364
                                            Fax: (301) 587-6308
                                            Attorneys for Plaintiff




                                               11
